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                                 IN THE UNITED STATES DISTRICT COURT
                                FOR THE NORTHERN DISTRICT OF GEORGIA
                                          ATLANTA DIVISION


              JEFFREY GRAY,
                       Plaintiffs,
                                                              CIVIL ACTION FILE

              v.                                              NO. 1:23-cv-00463-MLB


              CITY OF ALPHARETTA, ARICK
              FURR, and HAROLD SHOFFEITT,

                       Defendants.

                               ORDER SETTING SETTLEMENT CONFERENCE

                    This case has been referred for a settlement conference. Magistrate Judge Linda

             T. Walker has agreed to conduct such settlement conference. All parties and their

             lead counsel are ORDERED TO APPEAR before the undersigned magistrate

             judge on Wednesday, September 6,                 2023, at 9:30 A.M., via ZOOM

             platform. Credentials will be emailed to the parties.            If your email address

             is not on the record, please call 404-215-1361, upon receipt of this order,

             to provide your current        email address to the court.           An insured party

             shall appear by a representative        of       the insurer   who   is   authorized   to

             discuss     and     make recommendations relating to settlement. An uninsured

             corporate      party    shall appear   by    a     representative authorized to discuss

             and make recommendations relating to settlement.
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                   Settlement conferences are often unproductive unless the parties have exchanged

             demands and offers before the conference and make a serious effort to settle the case

             on their own. Before arriving at the settlement conference the parties are to

             negotiate and make a good faith effort to settle the case without the involvement

             of the Court. Specific proposals and counter proposals shall be made. If

             settlement is not achieved before the settlement conference, the parties shall be

             prepared to engage in further negotiation at the conference.


                   Each party shall provide the undersigned, in confidence, a concise statement of

             the evidence the party expects to produce at trial at least three (3) days before the

             conference. The statements should include analysis of the strengths and weaknesses

             of the case and shall outline the settlement negotiations to date. The statement is not

             to exceed five (5) typed pages, double spaced.


                   The purpose of the settlement conference is to facilitate settlement of this case,

             if that is appropriate. It will be conducted in such a manner as not to prejudice any

             party in the event settlement is not reached. To that end, all matters communicated to

             the undersigned in confidence will be kept confidential and will not be disclosed to any




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             other party, or to the trial judge. The undersigned, of course, will not serve as the trial

             judge in this case.


                   At the settlement conference the parties, by counsel, shall give a brief (5 minute)

             presentation outlining the factual and legal highlights of their case. Then separate,

             confidential caucuses will be held with counsel for each party and the parties or a

             party’s representative(s). Attached is an outline for counsel to review with the parties

             prior to the settlement conference to make the best use of the limited time allotted.


                   The request for parties’ personal appearance is intended to increase the

             efficiency and effectiveness of the settlement conference, by reducing the time for

             communication of offers and expanding the ability to explore options for settlement.

                   Let a copy of this Order be served upon counsel for the parties.

                   SO ORDERED, this 26th day of July, 2023.




                                                      HONORABLE LINDA T. WALKER
                                                      UNITED STATES MAGISTRATE JUDGE




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                             SETTLEMENT CONFERENCE PREPARATION


             Experience shows that in negotiations the party who is best prepared usually obtains
             the best result. Settlement conferences are more efficient if all parties and counsel are
             prepared. Consider the following topics to aid in the effectiveness of your settlement
             conference.

             A.    FORMAT

                   1.     Parties with ultimate settlement authority must be personally
                          present. If this is not possible, you must notify the judge in
                          advance and discuss the alternatives.

                   2.     The court will use a mediation format, and private caucusing
                          with each side; the judge may address your client directly.
                          The judge will not meet with parties separate from counsel.

             B.    ISSUES

                   1.     What issues (in and outside of this lawsuit) need to be
                          resolved? What are the strengths and weaknesses of each
                          issue? What is your most persuasive argument?

                   2.     What remedies are available resulting from this litigation?
                          From a settlement?

                   3.     Is there any ancillary litigation pending or planned which
                          affects case value? What about liens?

                   4.     Do you have enough information to value the case? If not,
                          how are you going to get more information before the
                          conference?

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                   5.    Do attorney’s fees or other expenses affect settlement? Have
                         you communicated this to the other side?

                   6.    Is Defendant and/or its carrier solvent?

             C.    AUTHORITY

                   1.    Are there outstanding liens? Have you verified amounts
                         and whether they are negotiable? Do we need to include a
                         representative of the lien holder? If so, contact the judge and
                         a notice of the settlement conference will be sent.

                   2.    Is there valid insurance coverage? In what amount? If
                         coverage is at issue, or the amount/type affects settlement
                         value, have you notified the other side? Do we need to
                         include the representative from more than one
                         company/carrier? If so, notify the judge immediately.

             D.    NEGOTIATIONS

                   1.    Where did your last discussions end? Are you sure?

                   2.    Schedule with opposing party: Discussions before the
                         settlement conference to make it proceed more efficiently.
                         At least one offer and response is required.

                   3.    What value do you want to start with? Why? Have you
                         discussed this with your client?

                   4.    What value do you want to end with? Why? Have you
                         discussed this with your client? Is it significantly different
                         from values you have placed on this case at other times?
                         Does your client understand why?




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                   5.    Is there confidential information which affects case value?
                         Why can’t/won’t/shouldn’t it be disclosed? How can the
                         other side be persuaded to change value if it doesn’t have
                         this information?

                   6.    What happens if you don’t settle the case at the conference?
                         What is your best alternative to a negotiated settlement?
                         Why? What might change the outcome of the settlement
                         conference? Pending motions, discovery, expert’s report,
                         etc.

             E.    CLOSING

                   1.    Have you discussed settlement formats with your client?
                         Does the client understand structured settlements, annuities,
                         Rule 68 offers to compromise?

                   2.    How soon could checks/closing documents be received?

                   3.    If settlement is not reached, and further discovery is needed,
                         what is your plan for continuing settlement discussions? Do
                         you want the court involved in these talks?

                   4.    If settlement is not reached, be prepared to discuss it again
                         at the Final Pretrial Conference.




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